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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


DEMOCRACY PARTNERS, LLC,                                 CIVIL ACTION NO.: 1:17-CV-1047-PLF
et al.,

        Plaintiffs,
v.

PROJECT VERITAS ACTION FUND,
et al.,

      Defendants.
_____________________________/

            COMBINED VOIR DIRE QUESTIONS PROPOSED BY THE PARTIES
        The Parties respectfully request the Court allow the following questions to be asked of the

potential jurors. The Parties have jointly worked diligently to prepare these proposed questions.

However, owing to potential developments prior to jury selection, the Parties jointly request that

the Court reserve their right to amend these proposed questions prior to submission of the case to

the jury.

        The proposed questions numbered 23, 24, and 25 are highlighted in yellow because the

Plaintiffs object to them: they argue that “the jurors’ answers would not be indicative of anything

that would be relevant to a juror’s ability to render an unbiased verdict.” The Project Veritas Parties

assert that, in light of Plaintiffs’ theory and anticipated evidence, as well as the Court’s rulings,

the proposed questions are essential to seat jurors who can fairly and impartially evaluate the

evidence and render an unbiased verdict.

        1.       The Parties request that the Court make inquiry of the panel members’ names,

addresses, employment and educational backgrounds.

        2.       The attorneys for the Plaintiffs in this case are Joseph Sandler, Christina Bustos

and Mark Lancaster of the law firm Sandler Reiff Lamb Rosenstein & Birkenstock. Do you
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know the law firm or any of these attorneys, or have you had any dealings of any kind with any

of them?

       3.       The attorneys for the Defendants in this case are Paul Calli and Charles Short of

Calli Law, LLC and Stephen Klein of the Klein Barr law firm. Do you know any of these law

firms or any of these attorneys, or have you had any dealings of any kind with any of them?

       4.       Do you feel you have any bias or preference for or against any of the Plaintiffs or

for or against any of the Defendants because of the nature of the complaint in this case or

otherwise?

       5.       Do you have set beliefs - religious, moral, ethical, political or otherwise - that

would impair your ability to listen to the evidence brought out in this courtroom objectively and

decide this case based solely upon the evidence that you year, based upon the instructions that

the Court will give the jury?

       6.       Do you or any member of your family have any personal interest in the outcome

of this case?

       7.       Would you be uncomfortable in making an award of money damages if the

Plaintiffs meet their burden of proof on any of their claims?

       8.       Do you believe that you will be able to follow the Court’s instructions even if you

disagree with the law?

       9.       Have you ever worked or received training in any of the following areas, or does

any member of your family or household work in any of these areas. The questions includes any

organization, whether a for-profit or a non-profit business, or volunteer work.

                a)       News media?

                b)       Political campaigning?
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                 c)     Union administration?

                 d)     Consulting?

                 e)     Auditing and compliance?

                 f)     Regulatory agencies or agencies that oversee elections?

                 g)     Human resources

       If yes to any of the above, what did/do you (or your family member) do in that field?

       10.       Who has ever owned your own business, started a company of any kind, or been

self-employed?

       11. Have you or any of your immediate family served in the military? If yes,

                 a)     What branch, when, what was your highest rank, what type of discharge did
                        you receive? If you served overseas, where?

                 b)     Have you or any of your immediate family served in the intelligence
                        community? If yes,

                 c)     For what agency or military branch?

       12.       Do any of you have a website, twitter account, telegram station, facebook page, or

parlor account on which you report news or editorialize about news, whether local, state, or

national news?

       13.       Have you ever done business, or had any interaction with, or do you or a member

of your family have any business, financial or employment relationship with any of the following

people, businesses or organizations?

                 a)     Democracy Partners

                 b)     Strategic Consulting Group

                 c)     Mobilize Inc.

                 d)     American Family Voices
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              e)     Project Veritas

              f)     Project Veritas Action Fund

              g)     The Democratic National Committee (DNC)

              h)     The Undercurrent

              i)     American Federation of State, County, and Municipal Employees

                     (AFSCME)

              j)     Americans United for Change (AUFC)

              k)     Georgetown University or its law school

              l)     Voces de la Frontera

              m)     Sinclair Broadcasting

              n)     Robert Creamer

              o)     Allison Maass

              p)     James O’Keefe

       14.    Do you know, have you heard of any of the following people, or do you or a family

member have any type of relationship with any of the following?

              a)     James O’Keefe

              b)     Allison Maass

              c)     Christian Hartsock

              d)     Robert “Bob” Creamer

              e)     Lauren Windsor

              f)     Aaron Minter a/k/a Black

              g)     Scott Foval

              h)     Scott Frey
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                i)      Lee Saunders

                j)      Brad Woodhouse

                k)      Mark Cerebona

                l)      Mike Lux

                m)      Linda Saucedo

                n)      Cheri Whiteman

                o)      Daniel Sandini

                p)      Trevor Kendrick

                q)      Bill Lurye

       15.      Do you have any familiarity with Project Veritas, Project Veritas Action Fund, or

James O’Keefe III or their websites, social media accounts, or YouTube channels? If so, do you

follow or subscribe to any of those social media accounts or YouTube channels of Project

Veritas, Project Veritas Action Fund, or James O’Keefe III?

       16.       Have you heard anything on radio or television or read anything in the media or

social media about this case or similar cases? If so, please describe.

                a)      As a result of what you have heard or read, have you formed any opinion

             whatsoever regarding this matter?

                b)      Notwithstanding the above, can you follow the Court’s instructions and

             the law as the Court will instruct you, and render a fair and impartial decision based

             solely upon the evidence presented at trial?

       17.      Has anyone written a letter to the editor, an opinion letter to any publication whether

in print or online, or called in to a talk show to express your opinion?

                a)      If so, what was the issue?
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       18.    Are you or is someone you are related to a journalist?

       19.    Where do you get your news?

              a)      What newspapers and magazines?

              b)      What news shows or tv channels?

              c)      What podcasters and streamers?

              d)      What blogs or substacks?

              e)      What news websites?

              f)      What Radio programs?

              g)      What Twitter media?

              h)      What Telegram media?

       20.    Do you communicate about politics on social media?

       21.    Have you ever seen a hidden camera investigation on the news? Was it a national

news program, a local news program, or an on-line news program?

       22.    Do you have favorite podcasts? If so, what are they?

       23.    Did you vote in the 2016 election?

       24.    Did you vote in the 2020 election?

       25.    Were you personally affected by the events of January 6, 2021?

       26.    Do you consider yourself politically active?

       27.    Has anyone served as a poll worker during any election?

       28.    This case will involve evidence regarding the Trump campaign, can you render an

unbiased opinion if one of the parties involved in this lawsuit supported the Trump campaign?
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       29.       This case will also involve evidence regarding the Clinton campaign, can you

render an unbiased opinion if one of the parties involved in this lawsuit supported the Clinton

campaign?

       30.       Are you or anyone in your family involved in politics? How?

                 a)     Volunteering? Phone banking? Text banking? Canvassing?

                 b)     Are you or your family paid for that work?

        31.      Have you or any member of your immediate family even been employed by a

national, state or local political party committee? If so:

                 a)     What committee?

                 b)     What was the nature of that employment?

                 c)     During what time period were you employed?

       32.       Have you or any member of your immediate family even been employed by or

volunteered for a political campaign?

                 a)     What campaign(s)?

                 b)     What was the nature of that employment or volunteer role?

                 c)     During what time period were you employed or did you serve as a

                        volunteer?

       33.       Is anyone familiar with the laws involving political campaigning and political

contributions?

       34.       Have you followed any legal cases involving political campaigning, political

contributions, or voter fraud?

       35.       Has anyone ever filed a complaint with the Federal Election Commission, or any

state or county authority that oversees elections?
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       36.      Do you know anyone who works in this courthouse? If yes who, and how do you

know that person?

                a)     Is anyone a member of a union, or have family members who are?

                b)     What union?

                c)     What role?

                d)     Have you or your family member held a position, such as serving as an

                       officer or a representative?

       37.      Have you ever been asked to sign a non-disclosure agreement?

       38.      Are you familiar with or have any specialized knowledge of non-disclosure

agreements?

       39.      Do you work with confidential information?

       40.      Have you ever had an internship?

       41.      If so, was it a paid or unpaid internship?

       42.      Are you responsible for hiring interns?

       43.      Do you work with interns?

       44.      Have you ever secretly recorded a conversation or event with your phone or any

kind of electronic device? Who did you record? Why?

       45.      Has anyone ever secretly recorded a conversation they had with you? Did you

know they were recording you? Why were they recording you?

       46.      Have you or any business or other organization with which you are or have been

connected ever been involved in any investigation or lawsuit involving the secret recording of

conversations? If so, describe the proceeding and your involvement or that of the business or

organization.
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       47.     Have you ever appeared on the news?

       48.     Have you ever been the defendant in a civil lawsuit? What were the claims?

       49.     Have you ever been the plaintiff in a civil lawsuit? What were the claims?

       50.     Have you ever been a witness in a civil lawsuit? What were the claims?

       51.     Have you previously served on a jury? On how many occasions?

               a)      Was your service in a State (District of Columbia) or Federal case?

               b)      Was the case (or cases) civil or criminal?

               c)      If you were selected for the jury, were you the Foreperson?

               d)      Without telling us the verdict or who you found for, plaintiff or defendant,

                       did you reach a verdict?

               e)      Were you ever called and questioned, like today, but not selected to serve

                       on the jury?

       52.     Does anyone think that just because someone has been sued, they must have done

something wrong because they didn’t settle and elected to go to trial?

       53.     In a civil case, it is the plaintiff’s burden to prove their case. Does anyone disagree?

That is, does anyone think the defense should have to disprove the plaintiff’s claims?

       54.     Please look around the courtroom and raise your hand if you know or recognize

any of the other potential jurors.

       55.     Have you recognized anyone else that you have seen at the courthouse today?

       56.     Based on the questions that you have been asked so far by the Court and the

attorneys, is there anything that we haven’t asked you that you think would be helpful for the

Court, the attorneys or the parties to know about you?
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       57.     Do you have any concerns regarding Covid that would make it difficult for you to

serve on this jury?



Respectfully submitted,

 /s/ Paul A. Calli                              /s/ Joseph E. Sandler
 Paul A. Calli                                  Joseph E. Sandler, D.C. Bar No. 255919
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 and Allison Maass
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                                CERTIFICATE OF SERVICE

       I CERTIFY that on November 5, 2021 I served the foregoing through the Court’s electronic

filing system which served a copy on all counsel of record.



                                                    /s/ Paul A. Calli
                                                    Paul A. Calli, Esq.
